OPINION — AG — ** ACQUISITION OF LANDS — BY STATE CONSERVATION COMMISSION ** THE LANDS ACQUIRED BY THE STATE CONSERVATION COMMISSION ARE NOW OWNED OR UNDER THE CONTROL OF THE OKLAHOMA TOURISM AND RECREATION COMMISSION AND THE OKLAHOMA TOURISM AND RECREATION DEPARTMENT AS THE SUCCESSOR AGENCY TO THE OKLAHOMA INDUSTRIAL DEVELOPMENT AND PARK COMMISSION. CITE: 74 O.S. 1970 Supp., 1102 [74-1102] 74 O.S. 1974 Supp., 1801 [74-1801], OPINION NO. 71-248 74 O.S. 1974 Supp., 1802 [74-1802], 74 O.S. 1974 Supp., 2001 [74-2001] [74-2001] (DONALD B. NEVARD)